                 Case 3:21-cv-00239 Document 1-1 Filed 09/29/21 Page 1 of 48




                                    EXHIBIT A


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                                                                                                                      District Clerk
                                                                                                                   El Paso County
                                                                                                                   2021DCV2168
                                IN THE COUNTY COURT AT LAW NUMBER __________
                                              ______ JUDICIAL DISTRICT COURT
                                                  OF EL PASO COUNTY, TEXAS


            JOSE ALFREDO GALLEGOS,         §
                                           §
                 Plaintiff,                §
                                           §
            vs.                            §                                         Cause No. 2021-DCV_________
                                           §
            FREEEPORT-MCMORAN CORPORATION, §
            PHELPS DODGE REFINING          §
            CORPORATION and HEP PIPELINE   §
            ASSETS LIMITED CORPORATION     §
                                           §
                 Defendants.               §

                              PLAINTIFF’S ORIGINAL PETITION AND JURY DEMAND

            TO THE HONORABLE JUDGE OF SAID COURT:

                     COMES NOW JOSE ALFREDO GALLEGOS (hereinafter referred to as “Plaintiff”),

            complaining of FREEPORT-MCMORAN CORPORATION (hereinafter referred to as

            “Defendant FREEPORT”) and complaining of PHELPS DODGE REFINING CORPORATION

            (herein referred to as “Defendant Phelps Dodge”) and complaining of HEP PIPELINE ASSETS,

            LIMPTED PARTNERSHIP (herein referred to as “Defendant HEP Pipeline”) for a cause of action

            would respectfully show the Court and/or Jury as follows:

                                                  I.     DISCOVERY CONTROL PLAN

                     Pursuant to Rule 190, discovery in this case will be conducted in Level III.

                                                                II.        PARTIES

                     Plaintiff Jose Antonio Gallegos is a resident of El Paso County, Texas. The last three

            numbers of Plaintiff’s driver’s license number are 745.


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            Jose Alfredo Gallegos v. Freeport Mcmoran Corporation, et al
            PLAINTIFF’S ORIGINAL PETITION AND JURY DEMAND
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         Defendant FREEPORT -MCMORAN is a New York corporation doing business in El Paso

County, Texas and may be served with process by serving its registered agent, CORPORATION

SERVICE COMPANY d/b/a CSC LAWYERS INCO, or any other authorized officer or agent

therein at 211 E. 7th Street Suite 620 Austin, Texas 78701 and/or wherever they may be found.

         Defendant PHELPS DODGE REFINING CORPORATION is a New York corporation

doing business in El Paso County, Texas and may be served with process by serving its registered

agent, CORPORATION SERVICE COMPANY d/b/a CSC LAWYERS INCO, or any other

authorized officer or agent therein at 211 E. 7th Street Suite 620 Austin, Texas 78701 and/or

wherever they may be found.

         Defendant HEP PIPELINE ASSET, LIMITED PARTNERSHIP is a Delaware corporation

doing business in El Paso County, Texas and may be served with process by serving its registered

agent, or any other authorized officer or agent therein at CT CORPORATION 1999 Bryan St.,

Dallas, Texas 75201 and/or wherever they may be found.

                                                  III.     FACTS

         The injuries and damages suffered by Plaintiff and made the basis of this action arose out

of an incident that occurred on or about July 8, 2019, in El Paso County, Texas. At such time and

place, Plaintiff was inside Defendants’ premises, located at 897 Hawkins Blvd, El Paso, Texas

79915. Plaintiff was dropping off uniforms on Defendants’ property, pushing a cart, when

Plaintiff’s cart got stuck on old railroad tracks, causing Plaintiff’s knee to lock, causing injury to

Plaintiff. The unlevel, defective or rusted railroad track caused Plaintiff to fall to the floor and

sustain injuries to his knees and other parts of his body. Said occurrence caused substantial physical

injuries to the person of Plaintiff. Plaintiff was an invitee to whom Defendants owed a duty to use




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Jose Alfredo Gallegos v. Freeport Mcmoran Corporation, et al
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reasonable care, including the duty to protect and safeguard Plaintiff from unreasonably dangerous

conditions on the premises or to warn of their existence.

                               IV.        DEFENDANTS’ PREMISES LIABILITY

         While upon Defendants’ premises, Plaintiff suffered bodily injuries as a direct result of the

fall proximately caused by a dangerous condition, which Defendants knew, or in the exercise of

ordinary care, should have known existed. Defendants breached their duty of ordinary care by (1)

failing to adequately warn the Plaintiff of the condition, or (2) failing to make the condition

reasonably safe.

         Defendants, their agents, servants, and employees negligently caused and/or negligently

permitted such condition to exist and/or negligently failed to warn Plaintiff of the condition of the

premises, despite the fact that Defendants, their agents, servants and employees knew, or in the

exercise of ordinary care, should have known of the existence of the condition and that there was

a likelihood of someone being injured as happened to Plaintiff. Defendants’ failure and breach of

duty to an invitee proximately caused Plaintiff’s injuries.

                                     V.      DEFENDANTS’ NEGLIGENCE

         Plaintiff would show that the damages and injuries he sustained were caused by the

negligence of Defendants, their employees, agents and representatives. Plaintiff would also show

that Defendants owed a duty to Plaintiff, that Defendants breached that duty and that such breach

was a proximate cause of the injury and resulting damages to Plaintiff. On the occasion in question,

Defendants, their agents, representatives, and employees were negligent in one or more of the

following ways:

                  1. In failing to maintain the area in a reasonably safe condition;
                  2. In failing to warn of the condition of the area in question;
                  3. In failing to inspect the premises in order to discovery the dangerous condition
                     of the area in question;


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              Case 3:21-cv-00239 Document 1-1 Filed 09/29/21 Page 6 of 48




                  4. In failing to correct the dangerous condition of the area in question;
                  5. In failing to warn invitees and licensees, including Plainitff, that a dangerous
                      condition existed which required extra care to be taken by them when entering
                      or exiting the area when Defendants knew or should have known that the area
                      in question was dangerous;
                  6. In failing to establish and enforce safety rule and regulations;
                  7. In failing to supervise employees in regular inspection and maintaning the
                      area in question;
                  8. In failing to teach its employees on the maintance of the area in question;
                  9. In failing to repair or replace rugs that could reasonably be anticipated to
                      cause and create dangerous conditions;
                  10. Other acts of negligence.

         One or more of the foregoing negligent acts and omissions, whether taken singularly or in

any combination, was/were a proximate cause of Plaintiff’s injuries and damages described below.

                         VI.      VICARIOUS LIABILITY OF ALL DEFENDANTS

         Alternatively, and without waiving the foregoing, Plaintiff would show that Defendants are

liable for the damages and injuries which were caused by the negligence of Defendants, their

employees, agents, and representatives. Defendants are liable for the acts or omissions of their

contractors, subcontractors, employees and agents and any person at the refinery in which this

incident occurred over whom Defendants retained control. Defendants had control over the

manner, methods and procedures that the employees, agents and representatives used in carrying

out assigned duties. This right of and actual exercise of control gives rise to a duty of care by

Defendants to employees working on the site.

                                        VII.      PLAINTIFF’S DAMAGES

         As a direct result and proximate cause of the negligence of Defendants, Plaintiff suffered

bodily injuries. As a further result of the negligence of Defendants and the injuries described

herein, Plaintiff has incurred expenses for medical care and attention and other expenses. These

expenses incurred were necessary for the care and treatment of the injuries sustained by Plaintiff,

and the charges made and to be made were usual and customary charges for such services. Plaintiff


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will require further medical care and attention and will necessarily incur reasonable expenses in

the future for such medical needs.

         As a result of the negligence of Defendants, Plaintiff was prevented from performing his

household duties and will continue to be unable to perform his household duties in the future.

Plaintiff has suffered a loss of earning capacity in the past and will continue to suffer a loss of

earning capacity in the future.

         Plaintiff has suffered pain and suffering in the past, and Plaintiff will continue to suffer

pain and suffering in the future. Plaintiff has suffered mental pain and anguish in the past and will

continue to suffer mental pain and anguish in the future. Plaintiff has suffered emotional distress

in the past and will continue to suffer emotional distress in the future.

         The amount of the Plaintiff’s damages is substantial and well in excess of the jurisdictional

minimums of this Court. Many elements of damage, including pain, suffering and mental anguish

in the past, past physical impairment, and lost earning capacity, cannot be determined with

mathematical precision. Furthermore, the determination of many of these elements of damages is

peculiarly within the province of the jury. Plaintiff not at this time seek any certain amount of

damages for any of these particular elements of damages but would instead rely upon the collective

wisdom of the jury to determine an amount that would fairly reasonable compensate Plaintiff.

However, Plaintiff seeks monetary damages exceeding the limits set out in Tex .R. Civ. P. 47(c)(1)

and affirmatively plead that the monetary damages sought will fall within the limits set out in Tex.

R. Civ. P. 47(c)(5). Plaintiff also seeks judgment for all other relief to which Plaintiff is entitled.

Plaintiff reserves the right to file an amended pleading on this issue should subsequent evidence

show this figure to be either too high or too low. Pursuant to Texas Rule of Civil Procedure 47,

Plaintiffs are seeking monetary relief over $250,000.00 but no more than $1,000,000.00.



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Jose Alfredo Gallegos v. Freeport Mcmoran Corporation, et al
PLAINTIFF’S ORIGINAL PETITION AND JURY DEMAND
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                                      VIII.       PUNITIVE DAMAGES

         Plaintiff is entitled to punitive damages because of Defendants’ gross negligence.

Defendants’ acts or omissions, when viewed objectively from the standpoint of Defendants at the

time of their occurrence, involved an extreme degree of risk, considering the probability and

magnitude of the potential harm to others and of which the Defendants had actual, subjective

awareness of the risk involved, but nevertheless proceeded with conscious indifference of the risks.

Plaintiff is entitled to punitive damages in a sufficient amount to punish Defendants for their gross

negligence and to set an example for others that such conduct will not be tolerated.

                                            IX.      JURY DEMAND

         Plaintiff respectfully requests trial by jury of the issues in this case.

                                      X.      CONCLUSION AND PRAYER

         WHEREFORE PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to

appear and answer, and that on final trial, Plaintiff have judgment against Defendants for all relief

requested, for costs, pre-judgment and post judgment interest, and for such other relief, general

and special, at law or in equity, to which Plaintiff is entitled.

                                                               Respectfully submitted,

                                                               FLORES, TAWNEY & ACOSTA P.C.

                                                               /s/ Connie J. Flores
                                                               CONNIE J. FLORES
                                                               TX State Bar No.: 24067828
                                                               906 N. Mesa, 2nd Floor
                                                               El Paso, Texas 79902
                                                               Phone: (915) 308-1000
                                                               Facsimile: (915) 300-0283
                                                               Cflores@ftalawfirm.com
                                                               ATTORNEY FOR PLAINTIFF




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Jose Alfredo Gallegos v. Freeport Mcmoran Corporation, et al
PLAINTIFF’S ORIGINAL PETITION AND JURY DEMAND
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                El Paso Office:                          Las Cruces Office: *                                    Carlsbad Office:
            906 N. Mesa St., 2nd Floor                  1485 N. Main St., Suite B                           102 W. Hagerman St., Suite D
               El Paso, TX 79902                         Las Cruces, NM 88001                                  Carlsbad, NM 88220
             Phone: (915) 308-1000                       Phone: (575) 222-1000                                Phone: (575) 222-1000
            Facsimile: (915) 300-0283                   Facsimile: (575) 652-4752                            Facsimile: (575) 652-4752

                      Web:                                       *Principal Office
             https://ftalawfirm.com       All attorneys licensed to practice law in New Mexico and Texas.

                                                      June 28, 2021

            El Paso County District Clerk
            500 E San Antonio Ave., #103
            El Paso, Texas 79901

                           Via: E-File
                     Re:   Jose A. Gallegos v. Freeport-McMoran Corporation, et al; In the County Court at
                     Law Number 3 of El Paso County, Texas; Cause No. 2021DCV2168


            Dear Sir/Madam:

                     The following has been e-filed in connection with the above-referenced case:

                1. Plaintiff’s Original Petition and Jury Demand.

                Please prepare and issue the citations for the above-mentioned documents to be served upon
            Defendant FREEPORT-MCMORAN CORPORATION by serving its registered agent
            CORPORATION SERVICE COMPANY d/b/a CSC LAWYERS INCO or any authorized
            officer or agent therein at 211 E. 7th Street Suite 620, Austin, Texas 78701 or wherever may be
            found, and Defendant PHELPS DODGE REFINING CORPORATION by serving registered
            agent CORPORATION SERVICE COMPANY d/b/a CSC LAWYERS INCO or any other
            authorized officer or agent therein at 211 E. 7th Street Suite 620, Austin, Texas 78701 or
            wherever may be found, and Defendant HEP PIPEINE ASSET, LIMITED PARTNERSHIP
            serving registered agent CT CORPORATION or any other authorized officer or agent therein at
            1999 Bryan St., Dallas, Texas 75201 or wherever may be found and send by email to
            cflores@ftalawfirm.com and ncastro@ftalawfirm. Please include the following language “In
            addition to filing a written answer with the clerk, you may be required to make initial disclosures
            to other parties of this suit. These disclosures generally must be made no later than 30 days after
            you file your answer with the clerk.”


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   Payment fees have been paid through the e-filing system. If you should have any questions or
concerns, please contact me by phone at (915) 308-1000 or by email at cflores@ftalawfirm.com.



                                                   Very truly yours,


                                                   Connie J. Flores
                                                   Attorney at Law
CJF/lm




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                                                                                                            El Paso County
                                                                                                            2021DCV2168
                                        IN THE COUNTY COURT AT LAW NO. 3
                                            OF EL PASO COUNTY, TEXAS

            JOSE ALFREDO GALLEGOS,                               §
                                                                 §
                    Plaintiff,                                   §
                                                                 §
            v.                                                   §
                                                                 §
            FREEPORT-MCMORAN CORPORATION,                        §      Cause No. 2021-DCV2168
            PHELPS DODGE REFINING                                §
            CORPORATION AND HEP PIPELINE                         §
            ASSESTS LIMITED CORPORATION,                         §
                                                                 §
                    Defendants.                                  §

                 DEFENDANT HEP PIPELINE ASSETS LIMITED PARTNERSHIP’S ORIGINAL
                           ANSWER TO PLAINTIFF’S ORIGINAL PETITION

            TO THE HONORABLE JUDGE OF SAID COURT:

                    COMES NOW, HEP PIPELINE ASSETS LIMITED PARTNERSHIP, hereinafter

            referred to as “Defendant” herein, erroneously named as HEP PIPELINE ASSESTS LIMITED

            CORPORATION in Plaintiff’s Original Petition’s caption, and files this its Original Answer to

            Plaintiff’s Original Petition and would respectfully show the Court as follows:

                                                            I.

                    Defendant denies each and every allegation contained in the pleadings of the Plaintiff and

            demands strict proof thereof.

                                                           II.

                    Pleading further, Defendant would show that Plaintiff is not entitled to recover for, and

            Defendant is not responsible for, any medical condition, if any, before the occurrence in question

            except to the extent that such was aggravated, if at all, and Defendant is not responsible for any

            condition unrelated to this occurrence which was not previously caused by the occurrence made

            the subject of this suit.



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                                                  III.

        Defendant would affirmatively assert, pursuant to the Texas Civil Practice and Remedies Code,

§41.015, that it is obligated to pay, if at all only those medical bills or healthcare expenses that were

actually paid or occurred by Plaintiff and not just what Plaintiff may have been charged for medical or

healthcare treatment. To the extent that if at all, the medical bills being claimed by the Plaintiff were

“adjusted” or reduced because of the fact that there were contractual limitations, Defendant is only

responsible for those amounts after such adjustment or limitations were made.

                                                  IV.

        As a further affirmative defense herein, to the extent necessary, and to the extent necessary

(and without waiving the foregoing and/or in the alternative), Defendant asserts that in the event an

award of damages is made to Plaintiff, Defendant is entitled to such reduction as required by §18.091,

Texas Civil Practice and Remedies Code, which states as follows: “Notwithstanding any other law, if

any claimant seeks recovery for loss of earnings, loss of earning capacity, loss of contributions of a

pecuniary value, or loss of inheritance, evidence to prove the loss must be presented in the form of a

net loss after deducting for income tax payments or unpaid tax liability pursuant to any federal income

tax law.” Texas Civil Practice and Remedies Code §18.091.

                                                   V.

        As an affirmative defense herein, and to the extent necessary (and without waiving the

foregoing and/or in the alternative), Defendant asserts that in the event of recovery of damages from

Defendant, in this case, any award of pre- and/or post judgment interest is limited by the provisions of

the Texas Finance Code.

                                                  VI.

        The incident made the subject of this suit and Plaintiff’s alleged injuries and damages, if any,

were solely and proximately caused, or, in the alternative, proximately caused by the negligent acts

and/or omissions of Plaintiff.

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                                                VII.

        Additionally, and/or in the alternative and without waiving the foregoing Defendant alleges

that it did not own or control the property where Plaintiff’s accident occurred and it therefore owed

no duty to the Plaintiff.

                                                VIII.

        Additionally, and/or in the alternative, and without waiving the foregoing, the factual basis

of any alleged liability of the Defendant is legally insufficient to support an award of punitive or

exemplary damages because the conduct of Defendant, if any, did not rise to the level of malice,

gross negligence, or actual fraud. Additionally, and/or in the alternative, and without waiving the

foregoing, Plaintiff’s pleadings do not set forth any justification for punitive damages. Defendant

further pleads in the alternative the limitations imposed regarding such damages as outlined in the

Texas Civil Practices and Remedies Code, § 41.008.

                                                 IX.

        Defendant reserves the right to amend this Answer and demand trial by a twelve person

jury.

                                                 X.

        Defendant designates Richard Bonner as the member of the firm of attorneys representing

Defendant who will try this case.


                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant asks that Plaintiff take nothing

by this suit and that Defendant recover costs and such other further relief, general or special at law

or in equity to which Defendant may be justly entitled.




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                                             Respectfully submitted,

                                             KEMP SMITH LLP
                                             P.O. Box 2800
                                             El Paso, Texas 79999-2800
                                             915.533.4424
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                                     By:
                                             RICHARD BONNER
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                                             State Bar No. 02608500
                                             SERGIO ESTRADA
                                             Sergio.Estrada@kempsmith.com
                                             State Bar No. 24080886
                                             Attorneys for Defendant


                                CERTIFICATE OF SERVICE

        I hereby certify the foregoing document was served on all parties through their counsel
via the Court’s electronic filing system on the 4th day of August, 2021.

 Connie J. Flores
 Flores, Tawney & Acosta, P.C.
 906 N. Mesa, 2nd Floor
 El Paso, TX 79902
 915/308-1000
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 cflores@ftalawfirm.com
 Attorney for Plaintiff

 VIA EFile/EServe


                                                    ____________________________________
                                                    RICHARD BONNER




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El Paso County - County Court  Law 3            Document 1-1 Filed 09/29/21 Page 22 ofFiled
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                                                                                                    Norma Favela Barceleau
                                                                                                               District Clerk
                                                                                                            El Paso County
                                                                                                            2021DCV2168
                                    IN THE COUNTY COURT AT LAW NUMBER THREE

                                                     OF EL PASO COUNTY,

            JOSE ALFREDO GALLEGOS,                                §
                                                                  §
                   Plaintiff,                                     §
                                                                  §
            vs.                                                   §        Cause No. 2021-DCV2168
                                                                  §
            FREEEPORT-MCMORAN CORPORATION,                        §
            PHELPS DODGE REFINING                                 §
            CORPORATION and HEP PIPELINE                          §
            ASSETS LIMITED CORPORATION                            §
                                                                  §
                   Defendants.                                    §

                    PLAINTIFF’S AMENDED ORIGINAL PETITION AND JURY DEMAND

            TO THE HONORABLE JUDGE OF SAID COURT:

                   COMES NOW JOSE ALFREDO GALLEGOS (hereinafter referred to as “Plaintiff”),

            complaining of FREEPORT-MCMORAN CORPORATION (hereinafter referred to as

            “Defendant FREEPORT”) and complaining of PHELPS DODGE REFINING CORPORATION

            (herein referred to as “Defendant Phelps Dodge”) and complaining of HEP PIPELINE ASSETS,

            LIMPTED PARTNERSHIP (herein referred to as “Defendant HEP Pipeline”) for a cause of action

            would respectfully show the Court and/or Jury as follows:

                                           I.    DISCOVERY CONTROL PLAN

                   Pursuant to Rule 190, discovery in this case will be conducted in Level III.

                                                       II.   PARTIES

                   Plaintiff Jose Alfredo Gallegos is a resident of El Paso County, Texas. The last three

            numbers of Plaintiff’s driver’s license number are 745.




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       Defendant FREEPORT -MCMORAN is a New York corporation doing business in El Paso

County, Texas and may be served with process by serving its registered agent, CORPORATION

SERVICE COMPANY d/b/a CSC LAWYERS INCO, or any other authorized officer or agent

therein at 211 E. 7th Street Suite 620 Austin, Texas 78701 and/or wherever they may be found.

       Defendant PHELPS DODGE REFINING CORPORATION is a New York corporation

doing business in El Paso County, Texas and may be served with process by serving its registered

agent, CORPORATION SERVICE COMPANY d/b/a CSC LAWYERS INCO, or any other

authorized officer or agent therein at 211 E. 7th Street Suite 620 Austin, Texas 78701 and/or

wherever they may be found.

       Defendant HEP PIPELINE ASSET, LIMITED PARTNERSHIP is a Delaware corporation

doing business in El Paso County, Texas and may be served with process by serving its registered

agent, or any other authorized officer or agent therein at CT CORPORATION 1999 Bryan St.,

Dallas, Texas 75201 and/or wherever they may be found.

                                         III.    FACTS

       The injuries and damages suffered by Plaintiff and made the basis of this action arose out

of an incident that occurred on or about July 8, 2019, in El Paso County, Texas. At such time and

place, Plaintiff was inside Defendants’ premises, located at 897 Hawkins Blvd, El Paso, Texas

79915. Plaintiff was dropping off uniforms on Defendants’ property, pushing a cart, when

Plaintiff’s cart got stuck on old railroad tracks, causing Plaintiff’s knee to lock, causing injury to

Plaintiff. The unlevel, defective or rusted railroad track caused Plaintiff to fall to the floor and

sustain injuries to his knees and other parts of his body. Said occurrence caused substantial physical

injuries to the person of Plaintiff. Plaintiff was an invitee to whom Defendants owed a duty to use




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reasonable care, including the duty to protect and safeguard Plaintiff from unreasonably dangerous

conditions on the premises or to warn of their existence.

                          IV.        DEFENDANTS’ PREMISES LIABILITY

       While upon Defendants’ premises, Plaintiff suffered bodily injuries as a direct result of the

fall proximately caused by a dangerous condition, which Defendants knew, or in the exercise of

ordinary care, should have known existed. Defendants breached their duty of ordinary care by (1)

failing to adequately warn the Plaintiff of the condition, or (2) failing to make the condition

reasonably safe.

       Defendants, their agents, servants, and employees negligently caused and/or negligently

permitted such condition to exist and/or negligently failed to warn Plaintiff of the condition of the

premises, despite the fact that Defendants, their agents, servants and employees knew, or in the

exercise of ordinary care, should have known of the existence of the condition and that there was

a likelihood of someone being injured as happened to Plaintiff. Defendants’ failure and breach of

duty to an invitee proximately caused Plaintiff’s injuries.

                                V.      DEFENDANTS’ NEGLIGENCE

       Plaintiff would show that the damages and injuries he sustained were caused by the

negligence of Defendants, their employees, agents and representatives. Plaintiff would also show

that Defendants owed a duty to Plaintiff, that Defendants breached that duty and that such breach

was a proximate cause of the injury and resulting damages to Plaintiff. On the occasion in question,

Defendants, their agents, representatives, and employees were negligent in one or more of the

following ways:

               1. In failing to maintain the area in a reasonably safe condition;
               2. In failing to warn of the condition of the area in question;
               3. In failing to inspect the premises in order to discovery the dangerous condition
                  of the area in question;


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               4. In failing to correct the dangerous condition of the area in question;
               5. In failing to warn invitees and licensees, including Plainitff, that a dangerous
                   condition existed which required extra care to be taken by them when entering
                   or exiting the area when Defendants knew or should have known that the area
                   in question was dangerous;
               6. In failing to establish and enforce safety rule and regulations;
               7. In failing to supervise employees in regular inspection and maintaning the
                   area in question;
               8. In failing to teach its employees on the maintance of the area in question;
               9. In failing to repair or replace rugs that could reasonably be anticipated to
                   cause and create dangerous conditions;
               10. Other acts of negligence.

       One or more of the foregoing negligent acts and omissions, whether taken singularly or in

any combination, was/were a proximate cause of Plaintiff’s injuries and damages described below.

                     VI.    VICARIOUS LIABILITY OF ALL DEFENDANTS

       Alternatively, and without waiving the foregoing, Plaintiff would show that Defendants are

liable for the damages and injuries which were caused by the negligence of Defendants, their

employees, agents, and representatives. Defendants are liable for the acts or omissions of their

contractors, subcontractors, employees and agents and any person at the refinery in which this

incident occurred over whom Defendants retained control. Defendants had control over the

manner, methods and procedures that the employees, agents and representatives used in carrying

out assigned duties. This right of and actual exercise of control gives rise to a duty of care by

Defendants to employees working on the site.

                                 VII.     PLAINTIFF’S DAMAGES

       As a direct result and proximate cause of the negligence of Defendants, Plaintiff suffered

bodily injuries. As a further result of the negligence of Defendants and the injuries described

herein, Plaintiff has incurred expenses for medical care and attention and other expenses. These

expenses incurred were necessary for the care and treatment of the injuries sustained by Plaintiff,

and the charges made and to be made were usual and customary charges for such services. Plaintiff


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will require further medical care and attention and will necessarily incur reasonable expenses in

the future for such medical needs.

       As a result of the negligence of Defendants, Plaintiff was prevented from performing his

household duties and will continue to be unable to perform his household duties in the future.

Plaintiff has suffered a loss of earning capacity in the past and will continue to suffer a loss of

earning capacity in the future.

       Plaintiff has suffered pain and suffering in the past, and Plaintiff will continue to suffer

pain and suffering in the future. Plaintiff has suffered mental pain and anguish in the past and will

continue to suffer mental pain and anguish in the future. Plaintiff has suffered emotional distress

in the past and will continue to suffer emotional distress in the future.

       The amount of the Plaintiff’s damages is substantial and well in excess of the jurisdictional

minimums of this Court. Many elements of damage, including pain, suffering and mental anguish

in the past, past physical impairment, and lost earning capacity, cannot be determined with

mathematical precision. Furthermore, the determination of many of these elements of damages is

peculiarly within the province of the jury. Plaintiff not at this time seek any certain amount of

damages for any of these particular elements of damages but would instead rely upon the collective

wisdom of the jury to determine an amount that would fairly reasonable compensate Plaintiff.

However, Plaintiff seeks monetary damages exceeding the limits set out in Tex .R. Civ. P. 47(c)(1)

and affirmatively plead that the monetary damages sought will fall within the limits set out in Tex.

R. Civ. P. 47(c)(5). Plaintiff also seeks judgment for all other relief to which Plaintiff is entitled.

Plaintiff reserves the right to file an amended pleading on this issue should subsequent evidence

show this figure to be either too high or too low. Pursuant to Texas Rule of Civil Procedure 47,

Plaintiffs are seeking monetary relief over $250,000.00 but no more than $1,000,000.00.



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                                 VIII.      PUNITIVE DAMAGES

        Plaintiff is entitled to punitive damages because of Defendants’ gross negligence.

Defendants’ acts or omissions, when viewed objectively from the standpoint of Defendants at the

time of their occurrence, involved an extreme degree of risk, considering the probability and

magnitude of the potential harm to others and of which the Defendants had actual, subjective

awareness of the risk involved, but nevertheless proceeded with conscious indifference of the risks.

Plaintiff is entitled to punitive damages in a sufficient amount to punish Defendants for their gross

negligence and to set an example for others that such conduct will not be tolerated.

                                      IX.     JURY DEMAND

        Plaintiff respectfully requests trial by jury of the issues in this case.

                                 X.      CONCLUSION AND PRAYER

        WHEREFORE PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to

appear and answer, and that on final trial, Plaintiff have judgment against Defendants for all relief

requested, for costs, pre-judgment and post judgment interest, and for such other relief, general

and special, at law or in equity, to which Plaintiff is entitled.

                                                        Respectfully submitted,

                                                        FLORES, TAWNEY & ACOSTA P.C.

                                                        /s/ Connie J. Flores
                                                        CONNIE J. FLORES
                                                        TX State Bar No.: 24067828
                                                        906 N. Mesa, 2nd Floor
                                                        El Paso, Texas 79902
                                                        Phone: (915) 308-1000
                                                        Facsimile: (915) 300-0283
                                                        Cflores@ftalawfirm.com
                                                        ATTORNEY FOR PLAINTIFF




                                                                                            6|P a g e
Jose Alfredo Gallegos v. Freeport Mcmoran Corporation, et al
PLAINTIFF’S AMENDED ORIGINAL PETITION AND JURY DEMAND
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                                                                                                           Norma Favela Barceleau
                                                                                                                      District Clerk
                                                                                                                   El Paso County
                                                                                                                   2021DCV2168
                                         IN THE COUNTY COURT AT LAW NUMBER THREE

                                                             OF EL PASO COUNTY,

            JOSE ALFREDO GALLEGOS,              §
                                                §
                  Plaintiff,                    §
                                                §
            vs.                                 §                                 Cause No. 2021-DCV2168
                                                §
            FREEEPORT-MCMORAN CORPORATION       §
            D/B/A FREEPORT MINERALS CORPORATION §
            AND PHELPS DODGE REFINING           §
            CORPORATION                         §
                                                §
                  Defendants.                   §

                  NOTICE OF NON-SUIT OF HEP PIPELINE ASSETS LIMITED CORPORATION
                                        WITHOUT PREJUDICE

                     COMES NOW JOSE ALFREDO GALLEGOS, Plaintiff in the above entitled and numbered

            cause and files this Notice of Non-Suit against Defendant HEP PIPELINE ASSETS LIMITED

            CORPORATION Without Prejudice and would show the Court as follows:

                                                                      I.

                     Plaintiffs JOSE ALFREDO GALLEGOS, moves to non-suit without prejudice Defendant HEP

            PIPELINE ASSETS LIMITED CORPORATION as party Defendant to this suit without dismissing,

            releasing, discharging or in any manner affecting Plaintiff’s claim against any other parties.

                     WHEREFORE, PREMISES CONSIDERED, Plaintiffs JOSE ALFREDO GALLEGOS prays

            that Defendant HEP PIPELINE ASSETS LIMITED CORPORATION be non-suited without prejudice

            and for general relief.



                                                               -signature page follows-




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                                                          Respectfully submitted,

                                                          FLORES, TAWNEY & ACOSTA P.C.


                                                          /s/ Connie J. Flores_____
                                                          CONNIE J. FLORES
                                                          TX State Bar No.: 24067828
                                                          906 N. Mesa, 2nd Floor
                                                          El Paso, Texas 79902
                                                          Phone: (915) 308-1000
                                                          Facsimile: (915) 300-0283
                                                          Cflores@ftalawfirm.com
                                                          ATTORNEY FOR PLAINTIFF




                                        CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of SEPTEMEBER 2021, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification to the
following as well as all others on the CM/ECF service list:

Richard Bonner
State Bar No. 02608500
Sergio Estrada
State Bar No. 24080886
KEMP SMITH LLP
Po Box 2800
El Paso, TX 79999
(915)533-4424 - Phone
(915)546-5360 – Facsimile
Richard.bonner@kempsmith.com
Sergio.estrada@kempsmith.com
Attys for Defendant HEP Pipeline Assets Limited Partnership


                                                          /s/ Connie J. Flores
                                                          CONNIE J. FLORES




                                                                                       2 |P ag e
Jose A. Gallegos v. Freeport-McMoran Corporation, et al
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Lizette Morales on behalf of Concepcion Flores
Bar No. 24067828
lmorales@ftalawfirm.com
Envelope ID: 56901697
Status as of 9/3/2021 8:31 AM MST

Associated Case Party: JoseAntonioGallegos

Name               BarNumber Email                        TimestampSubmitted Status

Connie J.Flores                 cflores@ftalawfirm.com    9/2/2021 9:26:32 AM   SENT

Lizette Morales                 lmorales@ftalawfirm.com   9/2/2021 9:26:32 AM   SENT

ROSA MURO                       rmuro@ftalawfirm.com      9/2/2021 9:26:32 AM   SENT



Case Contacts

Name                BarNumber    Email                           TimestampSubmitted Status

Richard Bonner                   richard.bonner@kempsmith.com    9/2/2021 9:26:32 AM   SENT

Sergio Estrada                   sergio.estrada@kempsmith.com    9/2/2021 9:26:32 AM   SENT

Yolanda AGarcia                  yolanda.garcia@kempsmith.com    9/2/2021 9:26:32 AM   SENT

Clarissa Elias                   clarissa.elias@kempsmith.com    9/2/2021 9:26:32 AM   SENT
                        Caseat3:21-cv-00239
El Paso County - County Court  Law 3               Document 1-1 Filed 09/29/21 Page 39 Filed
                                                                                       of 489/26/2021 6:15 PM
                                                                                                              Norma Favela Barceleau
                                                                                                                         District Clerk
                                                                                                                      El Paso County
                                                                                                                      2021DCV2168

                                      IN THE COUNTY COURT AT LAW NO. THREE

                                                 EL PASO COUNTY, TEXAS

                JOSE ALFREDO GALLEGOS,                       )
                                                             )
                        Plaintiff,                           )
                                                             )          Cause No. 2021-DCV-2168
                v.                                           )
                                                             )
                FREEPORT-MCMORAN                             )
                CORPORATION D/B/A FREEPORT                   )
                MINERALS CORPORATION AND                     )
                PHELPS DODGE REFINING                        )
                CORPORATION                                  )
                                                             )
                        Defendants.                          )

                                DEFENDANT FREEPORT MINERALS CORPORATION’S
                                             ORIGINAL ANSWER

                      Defendant FREEPORT MINERALS CORPORATION, improperly and incorrectly

            named herein as “Freeport-McMoran Corporation d/b/a Freeport Minerals Corporation,”1 files its

            Original Answer and respectfully shows as follows:

                                                        GENERAL DENIAL

                                                                 I.

                      Pursuant to the provisions of Rule 92 of the Texas Rules of Civil Procedure, Defendant

            generally denies the allegations in Plaintiff's Original Petition.

                                                                 II.

                      Defendant reserves the right to amend this Answer at a later date.




            1
             “Freeport-McMoran Corporation” no longer exists and, in any event, does not do business as Freeport Minerals
            Corporation. The proper name of the defendant in this lawsuit is Freeport Minerals Corporation.
            4827-3618-3291                                       1
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                                               DEFENSES

                                                   III.

          Plaintiff has failed to mitigate his damages.

                                                   IV.

          Some or all of Plaintiff’s claims for damages are statutorily capped pursuant to applicable

Texas law.

                                                   V.

          Some or all of Plaintiff’s alleged damages and injuries are the result of pre-existing,

subsequent, and/or unrelated injuries, illnesses and conditions that were not proximately caused

by any act or omission by Defendant.

                                                   VI.

          Some or all of Plaintiff’s claims are barred by TEX. CIV. PRAC. & REM CODE § 41.0105

because Plaintiff may only recover medical expenses actually paid or incurred.

                                                  VII.

          Some or all of Plaintiff’s claims are barred by TEX. CIV. PRAC. & REM CODE § 18.091

because any evidence of wages or economic damages must be presented in after-tax format.

Defendant requests an appropriate jury instruction in this regard.

                                                  VIII.

          Plaintiff’s injury was the result of an unavoidable accident and/or a new and intervening

cause of which Defendant exercised no control.

                                                   IX.

          Plaintiff’s acts and/or omissions were the sole proximate cause of Plaintiff’s injuries, if

any.



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                                                X.

          That the incident made the basis of this lawsuit was caused in whole or in part by the

negligence of Plaintiff or others in that one or more failed to act as persons of ordinary care

under the circumstances. Any recovery by the Plaintiff should be reduced proportionately, if not

barred by, his proportionate responsibility, and/or the proportionate responsibility of other

persons, settling persons and/or responsible third-parties, pursuant to Chapter 33 of the Texas

Practice and Remedies Code.

                                                XI.

          Defendant did not own the premises in question at the time of and prior to the incident

made the basis of this lawsuit, nor did it have notice or knowledge of an unreasonably dangerous

condition on the premises in question at the time of and prior to the incident made the basis of

this lawsuit.

                                               XII.

          ACCORDINGLY, Defendant prays that on hearing of this matter the Court enter

judgment in favor of Defendant that Plaintiff take nothing by his suit, that Defendant recover its

costs of court and attorneys’ fees and that Defendant have such other and further relief to which

it may show itself entitled.




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                 Case 3:21-cv-00239 Document 1-1 Filed 09/29/21 Page 42 of 48




                                            Respectfully submitted,

                                            SNELL & WILMER, LLP
                                            One Arizona Center
                                            400 East Van Buren Street, Suite 1900
                                            Phoenix, AZ 85004-2202
                                            602.382.6000
                                            602.382.6070 Fax
                                            wcrowson@swlaw.com



                                      By:
                                            WALKER F. CROWSON
                                            State Bar No. 24012480
                                            Attorneys for Defendants

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on the following
on September 27, 2021:

 Connie J. Flores                                         First Class Mail
 Flores, Tawny & Acosta, PC                               Certified Mail/Return Receipt
 906 N. Mesa, 2nd Floor                                   Hand Delivery
 El Paso, Texas 79902                                     Facsimile
 Phone: (915) 308-1000                                    E-mail Correspondence
 Facsimile: (915) 300-0283                          X     Texas E-File
 Cflores@ftalawfirm.com




                                                    WALKER F. CROWSON




                                               4
4827-3618-3291
                  Case 3:21-cv-00239 Document 1-1 Filed 09/29/21 Page 43 of 48

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Walker Crowson
Bar No. 24012480
wcrowson@swlaw.com
Envelope ID: 57603817
Status as of 9/27/2021 11:37 AM MST

Associated Case Party: JoseAntonioGallegos

Name               BarNumber Email                        TimestampSubmitted Status

Connie J.Flores                 cflores@ftalawfirm.com    9/26/2021 6:15:20 PM   SENT

Lizette Morales                 lmorales@ftalawfirm.com   9/26/2021 6:15:20 PM   SENT

ROSA MURO                       rmuro@ftalawfirm.com      9/26/2021 6:15:20 PM   SENT



Associated Case Party: FREEPORT-MCMORAN CORPORATION

Name                BarNumber   Email                     TimestampSubmitted Status

Jackie Lundgren                 jlundgren@swlaw.com       9/26/2021 6:15:20 PM   SENT

Walker Crowson                  wCrowson@swlaw.com 9/26/2021 6:15:20 PM          SENT



Associated Case Party: PHELPS DODGE REFINING CORPORATION

Name                BarNumber   Email                     TimestampSubmitted Status

Jackie Lundgren                 jlundgren@swlaw.com       9/26/2021 6:15:20 PM   SENT

Walker Crowson                  wCrowson@swlaw.com 9/26/2021 6:15:20 PM          SENT



Case Contacts

Name                BarNumber    Email                            TimestampSubmitted Status

Richard Bonner                   richard.bonner@kempsmith.com     9/26/2021 6:15:20 PM   SENT

Sergio Estrada                   sergio.estrada@kempsmith.com     9/26/2021 6:15:20 PM   SENT

Yolanda AGarcia                  yolanda.garcia@kempsmith.com     9/26/2021 6:15:20 PM   SENT

Clarissa Elias                   clarissa.elias@kempsmith.com     9/26/2021 6:15:20 PM   SENT
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El Paso County - County Court  Law 3              Document 1-1 Filed 09/29/21 Page 44 Filed
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                                                                                                  Norma Favela Barceleau
                                                                                                             District Clerk
                                                                                                          El Paso County
                                                                                                          2021DCV2168



                                      IN THE COUNTY COURT AT LAW NO. THREE

                                                 EL PASO COUNTY, TEXAS

             JOSE ALFREDO GALLEGOS,                         )
                                                            )
                        Plaintiff,                          )
                                                            )          Cause No. 2021-DCV-2168
             v.                                             )
                                                            )
             FREEPORT-MCMORAN                               )
             CORPORATION D/B/A FREEPORT                     )
             MINERALS CORPORATION AND                       )
             PHELPS DODGE REFINING                          )
             CORPORATION,                                   )
                                                            )
                        Defendants.                         )

                             DEFENDANT PHELPS DODGE REFINING CORPORATION’S
                                           ORIGINAL ANSWER

                      Defendant PHELPS DODGE REFINING CORPORATION files its Original Answer and

            respectfully shows as follows:

                                                       GENERAL DENIAL

                                                                 I.

                      Pursuant to the provisions of Rule 92 of the Texas Rules of Civil Procedure, Defendant

            generally denies the allegations in Plaintiff's Original Petition.

                                                                II.

                      Defendant reserves the right to amend this Answer at a later date.

                                                           DEFENSES

                                                                III.

                      Plaintiff has failed to mitigate his damages.




            4843-9371-9803                                       1
                 Case 3:21-cv-00239 Document 1-1 Filed 09/29/21 Page 45 of 48




                                                  IV.

          Some or all of Plaintiff’s claims for damages are statutorily capped pursuant to applicable

Texas law.

                                                  V.

          Some or all of Plaintiff’s alleged damages and injuries are the result of pre-existing,

subsequent, and/or unrelated injuries, illnesses and conditions that were not proximately caused

by any act or omission by Defendant.

                                                  VI.

          Some or all of Plaintiff’s claims are barred by TEX. CIV. PRAC. & REM CODE § 41.0105

because Plaintiff may only recover medical expenses actually paid or incurred.

                                                 VII.

          Some or all of Plaintiff’s claims are barred by TEX. CIV. PRAC. & REM CODE § 18.091

because any evidence of wages or economic damages must be presented in after-tax format.

Defendant requests an appropriate jury instruction in this regard.

                                                 VIII.

          Plaintiff’s injury was the result of an unavoidable accident and/or a new and intervening

cause of which Defendant exercised no control.

                                                  IX.

          Plaintiff’s acts and/or omissions were the sole proximate cause of Plaintiff’s injuries, if

any.

                                                  X.

          That the incident made the basis of this lawsuit was caused in whole or in part by the

negligence of Plaintiff or others in that one or more failed to act as persons of ordinary care

under the circumstances. Any recovery by the Plaintiff should be reduced proportionately, if not
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barred by, his proportionate responsibility, and/or the proportionate responsibility of other

persons, settling persons and/or responsible third-parties, pursuant to Chapter 33 of the Texas

Practice and Remedies Code.

                                                XI.

          Defendant did not have notice or knowledge of an unreasonably dangerous condition on

the premises in question at the time of and prior to the incident made the basis of this lawsuit.

          ACCORDINGLY, Defendant prays that on hearing of this matter the Court enter

judgment in favor of Defendant that Plaintiff take nothing by his suit, that Defendant recover its

costs of court and attorneys’ fees and that Defendant have such other and further relief to which

it may show itself entitled.


                                              Respectfully submitted,

                                              SNELL & WILMER, LLP
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                                      By:
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                                              State Bar No. 24012480
                                              Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on the following
on September 27, 2021:

 Connie J. Flores                                         First Class Mail
 Flores, Tawny & Acosta, PC                               Certified Mail/Return Receipt
 906 N. Mesa, 2nd Floor                                   Hand Delivery
 El Paso, Texas 79902                                     Facsimile
 Phone: (915) 308-1000                                    E-mail Correspondence
 Facsimile: (915) 300-0283                          X     Texas E-File
 Cflores@ftalawfirm.com




                                                    WALKER F. CROWSON




                                               4
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Walker Crowson
Bar No. 24012480
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Envelope ID: 57603809
Status as of 9/27/2021 11:36 AM MST

Associated Case Party: JoseAntonioGallegos

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Lizette Morales                 lmorales@ftalawfirm.com   9/26/2021 6:12:08 PM   SENT

ROSA MURO                       rmuro@ftalawfirm.com      9/26/2021 6:12:08 PM   SENT



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